Case 2:Ol-CV-02503-SH|\/|-tmp Document 555 Filed 06/01/05 Page 1 of 4 Page|D 677

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lN THE UNITED STATES DISTRICT COURT Fll.ED 55‘5*

FoR THE WESTERN DISTRICT oF TENNESSEE _ ‘ FH w 09
WESTERN DIVISION 05 JUt-%
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FEDERAL EXPRESS CORPORATION, \N_D. CJF 'TE\Z, l

Plaintiff, 01-2503-Ma/P
vS.
ACCU*SORT SYSTEMS, INC.,

Defendant.

 

ORDER ALLOWTNG MEMORANDUM TO EXCEED PAGE LIMITATION

 

Before the court is the May 31, 2005, unopposed motion filed by Accu-Sort Systems,
lnc., requesting permission to exceed the Local Rule page limitation For good cause shown, the
court grants the motion. Defendant Accu-Sort Systems, luc. may exceed the twenty (20) page
limitation

lT is So oRDERED this l s Lday OfJune, 2005.

l// z/

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT COURT

 

Thfs document entered on the dock t sheet in compliance
with Fluta 55 and/or 79(a} FRCP on& ',£ jfl:

 

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This notice confirms a copy of the document docketed as number 555 in
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Honorable Samuel Mays
US DISTRICT COURT

